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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF OKLAHOMA

    STEPHANIE PERALTA, BRIAN GRADY, AND
    MICHAEL JONES, individually and on behalf
    of all similarly situated persons and on
    behalf of the general public,                 Case No. CIV-21-838-HE

                  Plaintiffs,                     CLASS ACTION COMPLAINT

    v.                                            JURY TRIAL DEMANDED

    T-MOBILE USA, INC.

                  Defendant.


         Plaintiffs, Stephanie Peralta, Brian Grady, and Michael Jones, individually and on

behalf of all others similarly situated, and on behalf of the general public, upon personal

knowledge of facts pertaining to them and upon information and belief as to all other

matters, and by and through undersigned counsel, hereby bring this Class Action

Complaint against Defendant, T-Mobile USA, Inc. (“T-Mobile”), and allege as follows:

                                    INTRODUCTION

         1.      Part of the bargain of purchasing a phone and/or services from T-Mobile

includes turning over valuable personally identifiable information (“PII”),1 including



1
  Personally identifiable information generally incorporates information that can be used
to distinguish or trace an individual’s identity, either alone or when combined with other
personal or identifying information. 2 CFR § 200.79. At a minimum, it includes all
information that on its face expressly identifies an individual. PII is also generally defined
to include certain identifiers that do not on their face name an individual, but that are
considered to be particularly sensitive and/or valuable if in the wrong hands (for example,
Social Security number, passport number, driver’s license number, or financial account
number).


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names, address, Social Security numbers, birth dates, and driver’s license information. If

left unprotected, identity thieves can gain access to and use this highly sensitive

information to fraudulently open new accounts, access existing accounts, perpetrate

identity fraud or impersonate victims in a myriad of schemes, all of which can cause

grievous financial harm, negatively affect the victim’s credit scores for years, and cause

victims to spend countless hours mitigating damage.

       2.      Every year millions of Americans have their most valuable PII stolen and

sold online because of data breaches. Despite the dire warnings about the severe impact of

data breaches on Americans of all economic strata, companies still fail to make the

necessary investments to implement important and adequate security measures to protect

their customers’ and employees’ data.

       3.      T-Mobile, a subsidiary of Deutsche Telekom AG, is one of the world’s

largest mobile telecommunications companies. T-Mobile is among those companies that

have failed to meet their obligation to protect sensitive PII entrusted to them by their current

and former customers.

       4.      As reported by T-Mobile, hackers found their way into T-Mobile’s systems,

stealing both former and current customer names, birth dates, Social Security numbers and

driver’s license information of T-Mobile (the “Data Breach”).

       5.      The Data Breach is the fourth breach of T-Mobile’s systems since early 2020,

and the third in less than a year.2


2
  See https://www.tomsguide.com/news/possible-t-mobile-data-breach (last accessed
August 19, 2021).


                                               2
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       6.      The cybercriminals responsible for this latest attack began offering Plaintiffs’

and Class Members’3 stolen PII for sale the weekend of August 14-15, 2021, according to

security researcher Brian Krebs, who predicted that “it would all wind up online soon.”4

       7.      Defendant T-Mobile required its customers to provide it with their sensitive

PII and failed to protect it. Defendant had an obligation to secure its customers’ PII by

implementing reasonable and appropriate data security safeguards. This was part of the

bargain between Plaintiffs and Class Members and T-Mobile.

       8.      As a result of T-Mobile’s failure to provide reasonable and adequate data

security, Plaintiffs’ and the Class Members’ unencrypted, non-redacted PII has been

exposed to unauthorized third parties. Plaintiffs and the Class are now at much higher risk

of identity theft and cybercrimes of all kinds, especially considering the highly sensitive

PII stolen here and the fact that the compromised PII is already being sold on the dark web.

This risk constitutes a concrete injury suffered by Plaintiffs and the Class, as they no longer

have control over their PII, which PII is now in the hands of third-party cybercriminals.

This substantial and imminent risk of identity theft has been recognized by numerous courts

as a concrete injury sufficient to establish standing.5


3
   As used herein, the terms “Class” or “Class Members” means the putative “Nationwide
Class” and “Oklahoma Subclass” defined herein.
4
    See https://www.latimes.com/business/technology/story/2021-08-18/how-to-protect-
yourself-in-t-mobile-hack (last accessed August 19, 2021).
5
  See, e.g., Resnick v. AvMed, Inc., 693 F.3d 1317, 1324 (11th Cir. 2012) (holding that the
misuse of plaintiff’s sensitive information to open a bank account was sufficient to confer
standing even where she did not allege any “unreimbursed losses”); Galaria v. Nationwide
Mut. Ins. Co., 663 F. App’x 384, 388 (6th Cir. 2016) (finding injury-in-fact for data breach
case and defining “actual misuse” as a “fraudulent charge”); Hutton v. Nat’l Bd. of Exam’rs
in Optometry, Inc., 892 F.3d 613, 622 (4th Cir. 2018) (standing conferred based on alleged


                                               3
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       9.      Furthermore, Plaintiffs and the Class, as also set forth below, will have to

incur costs to pay a third-party credit and identity theft monitoring service for the rest of

their lives as a direct result of the Data Breach.

                                       THE PARTIES

       10.     Defendant T-Mobile, a publicly traded company and subsidiary of Deutsche

Telekom, is headquartered in Bellevue, Washington, is one of the mobile

telecommunication industries’ most recognizable brands in the world.

       11.     T-Mobile is the second-largest wireless carrier in the United states, with

almost 105 million customers as of the end of Q2 2021. Of those 105 million customers,

roughly 48 million were affected by the Data Breach.6

       12.     Plaintiff Peralta is a resident of Oklahoma County, Oklahoma and applied

for credit to purchase a phone through T-Mobile.

       13.     Plaintiff Grady is a resident of Cleveland County, Oklahoma and has been a



fraudulent use of identifying information, without alleged unreimbursed expenses, because
“the Supreme Court long ago made clear that ‘in interpreting injury in fact ... standing [is]
not confined to those who [can] show economic harm.’”); In re Equifax, Inc. Customer
Data Security Breach Litigation, No. 20-10249, 2021 WL 2250845, at *6 (11th Cir. June
3, 2021) (holding that the plaintiffs plausibly alleged injury in fact and established standing
“given the colossal amount of sensitive data stolen, including Social Security numbers,
names, and dates of birth, and the unequivocal damage that can be done with this type of
data…”); McMorris v. Carlos Lopez & Associates, LLC, 995 F.3d 295 (2d Cir. 2021)
(recognizing that plaintiffs may establish Article III standing based on an increased risk of
identity theft or fraud following the unauthorized disclosure of their data); Attias v.
Carefirst, Inc., 865 F.3d 620, 628-29 (D.C. Cir. 2017) (“The principal question, then, is
whether the plaintiffs have plausibly alleged a risk of future injury that is substantial
enough to create Article III standing. We conclude that they have.”).
6
    See https://www.latimes.com/business/technology/story/2021-08-18/how-to-protect-
yourself-in-t-mobile-hack (last accessed August 19, 2021).


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customer of T-Mobile for over ten (10) years.

       14.    Plaintiff Jones is a resident of Oklahoma County, Oklahoma and has been a

T-Mobile customer for approximately five (5) years.

       15.    Plaintiffs all provided their PII to T-Mobile at T-Mobile’s request. Plaintiffs

reasonably believed T-Mobile would keep their PII secure. Had T-Mobile disclosed to

Plaintiffs that their PII would not be kept secure and would be easily accessible to criminal

hackers and third parties and later sold on the dark web as a result, they would have

demanded T-Mobile take additional precautions relating to their PII.

                             JURISDICTION AND VENUE

       16.    Subject matter jurisdiction in this civil action is authorized pursuant to 28

U.S.C. § 1332(d) because there are more than 100 Class Members, at least one class

member is a citizen of a state different from that of Defendant, and the amount in

controversy exceeds $5 million, exclusive of interest and costs.

       17.    This Court has personal jurisdiction over Defendant because it is registered

to conduct business in Oklahoma and has sufficient minimum contacts with Oklahoma.

       18.    Venue is likewise proper in this District pursuant to 28 U.S.C. § 1391(b)

because Defendant conducts much of its business in this District and Defendant has caused

harm to Class Members residing in this District.

                              FACTUAL ALLEGATIONS

       A. T-Mobile collects and stores millions of current and former customers’ PII
          and has failed to provide adequate data security to protect it.

       19.    T-Mobile, which is headquartered in Washington with locations in




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Oklahoma, is the second-largest wireless carrier in the United States and has annual

revenues over $40 billion.7

       20.      Currently T-Mobile, a publicly traded company, has millions of current and

former customers, and is also well-recognized brand on the mobile telecommunications

global stage. T-Mobile touts on its website that its privacy principles mean “you can trust

us to do the right thing with your data.”8

       B. T-Mobile’s inadequate data security exposed its current and former
          customers’ sensitive PII.

       21.      On August 17, 2021, T-Mobile learned that a bad actor gained access to T-

Mobile’s systems where highly sensitive customer data was being contained unencrypted.

       22.      Plaintiffs received Data Breach notices in the form of text messages from T-

Mobile (collectively, the “Notice”).

       23.      The Notice was sent to Plaintiffs via text message. T-Mobile also posted a

separate notification of the Data Breach on its website, which included the following

information:

             What happened:

             On August 17, 2021, T-Mobile learned that a bad actor illegally accessed
             personal data. Our investigation is ongoing, but we have verified that a
             subset of T-Mobile data had been accessed by unauthorized individuals
             and the data stolen from our systems did include some personal
             information. The latest details about the affected data are available here.

             Information involved:


7
  See https://www.statista.com/statistics/219435/total-revenue-of-t-mobile-usa-by-quarter/
(last accessed August 19, 2021)
8
  See https://www.t-mobile.com/privacy-center (last accessed August 19, 2021).


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             Our investigation is ongoing and this information may be updated. The
             exact personal information accessed varies by individual. We have
             determined that the types of impacted information include: names,
             drivers’ licenses, government identification numbers, Social Security
             numbers, dates of birth, T-Mobile prepaid PINs (which have already been
             reset to protect you), addresses and phone number(s). We have no
             indication that personal financial or payment information, credit or debit
             card information, account numbers, or account passwords were accessed.

             What we’re doing:

             We’re relentlessly focused on taking care of our customers – that has not
             changed. We’ve been working around the clock to address this event and
             continue protecting you, which includes taking immediate steps to protect
             all individuals who may be at risk.

       24.      After receiving the Notice, it is reasonable for recipients, including Plaintiffs

and Class Members, to believe that the risk of future harm (including identity theft) is

substantial and imminent, especially considering it has already been confirmed that

Plaintiff’s and Class Members’ PII has been made available for sale on the dark web.

       25.      As such, it is also reasonable for Plaintiffs and Class Members to take steps

to mitigate that substantial risk of future harm. In fact, in T-Mobile’s online notification to

its customers, it warns affected individuals of the potential misuse of their information and

that they should, among other things, remain vigilant in reviewing their financial account

statements and credit reports for fraudulent or irregular activity, and be alert for phishing

emails.9

       C. The PII exposed by T-Mobile as a result of its inadequate data security is
          highly valuable on the black market.


9
 See https://www.t-mobile.com/support/account/additional-steps-to-protect-
yourself?icid=MGPO_MTW_U_21DTASECRT_SVFBJIM81C0IT0Q26102 (last
accessed August 20, 2021).


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       26.    The information exposed by T-Mobile is a virtual goldmine for phishers,

hackers, identity thieves and cyber criminals.

       27.    This exposure, along with the fact that the compromised PII is already being

sold on the dark web, is tremendously problematic. Cybercrime is rising at an alarming

rate, as shown in the FBI’s Internet Crime Complaint statistics chart shown below:




       28.    By 2013, it was being reported that nearly one out of four data breach

notification recipients becomes a victim of identity fraud.10

       29.    Stolen PII is often trafficked on the dark web, as is the case here. Law

enforcement has difficulty policing the dark web due to this encryption, which allows users

and criminals to conceal identities and online activity.

       30.    When malicious actors infiltrate companies and copy and exfiltrate the PII

that those companies store, that stolen information often ends up on the dark web because

the malicious actors buy and sell that information for profit.11


10
   Pascual, Al, “2013 Identity Fraud Report: Data Breaches Becoming a Treasure Trove
for Fraudsters,” Javelin (Feb. 20, 2013).
11
   Shining a Light on the Dark Web with Identity Monitoring, IdentityForce, Dec. 28,


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       31.    For example, when the U.S. Department of Justice announced its seizure of

AlphaBay in 2017, AlphaBay had more than 350,000 listings, many of which concerned

stolen or fraudulent documents that could be used to assume another person’s identity.

Other marketplaces, similar to the now-defunct AlphaBay, “are awash with [PII] belonging

to victims from countries all over the world. One of the key challenges of protecting PII

online is its pervasiveness. As data breaches in the news continue to show, PII about

employees, customers and the public is housed in all kinds of organizations, and the

increasing digital transformation of today’s businesses only broadens the number of

potential sources for hackers to target.”12

       32.    The PII of consumers remains of high value to criminals, as evidenced by the

prices they will pay through the dark web. Numerous sources cite dark web pricing for

stolen identity credentials. For example, personal information can be sold at a price ranging

from $40 to $200, and bank details have a price range of $50 to $20013. Experian reports

that a stolen credit or debit card number can sell for $5 to $110 on the dark web14.




2020, available at: https://www.identityforce.com/blog/shining-light-dark-web-identity-
monitoring (last accessed July 28, 2021).
12
   Stolen PII & Ramifications: Identity Theft and Fraud on the Dark Web, Armor, April
3, 2018, available at: https://www.armor.com/resources/blog/stolen-pii-ramifications-
identity-theft-fraud-dark-web/ (last accessed July 28, 2021).
13
   Your personal data is for sale on the dark web. Here’s how much it costs, Digital
Trends, Oct. 16, 2019, available at: https://www.digitaltrends.com/computing/personal-
data-sold-on-the-dark-web-how-much-it-costs/ (last accessed July 28, 2021).
14
   Here’s How Much Your Personal Information Is Selling for on the Dark Web,
Experian, Dec. 6, 2017, available at: https://www.experian.com/blogs/ask-
experian/heres-how-much-your-personal-information-is-selling-for-on-the-dark-web/
(last accessed July 28, 2021).


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Criminals can also purchase access to entire company data breaches from $900 to $4,50015.

       33.    Social Security numbers, for example, are among the worst kind of personal

information to have stolen because they may be put to a variety of fraudulent uses and are

difficult for an individual to change. The Social Security Administration stresses that the

loss of an individual’s Social Security number, as is the case here, can lead to identity theft

and extensive financial fraud:

         A dishonest person who has your Social Security number can use it to
         get other personal information about you. Identity thieves can use your
         number and your good credit to apply for more credit in your name.
         Then, they use the credit cards and don’t pay the bills, it damages your
         credit. You may not find out that someone is using your number until
         you’re turned down for credit, or you begin to get calls from unknown
         creditors demanding payment for items you never bought. Someone
         illegally using your Social Security number and assuming your identity
         can cause a lot of problems16.

       34.    What is more, it is no easy task to change or cancel a stolen Social Security

number. An individual cannot obtain a new Social Security number without significant

paperwork and evidence of actual misuse. In other words, preventive action to defend

against the possibility of misuse of a Social Security number is not permitted; an individual

must show evidence of actual, ongoing fraud activity to obtain a new number.

       35.    Even then, a new Social Security number may not be effective. According to

Julie Ferguson of the Identity Theft Resource Center, “The credit bureaus and banks are



15
   In the Dark, VPNOverview, 2019, available at:
https://vpnoverview.com/privacy/anonymous-browsing/in-the-dark/ (last accessed July
28, 2021).
16
   Social Security Administration, Identity Theft and Your Social Security Number,
available at: https://www.ssa.gov/pubs/EN-05-10064.pdf (last visited July 28, 2021).


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able to link the new number very quickly to the old number, so all of that old bad

information is quickly inherited into the new Social Security number.”17

       36.    Because of this, the information compromised in the Data Breach here is

significantly more harmful to lose than the loss of, for example, credit card information in

a retailer payment card breach because victims can simply cancel or close credit and debit

card accounts. The information compromised in this Data Breach is impossible to “close”

and difficult, if not impossible, to change.

       37.    The PII compromised in the Data Breach demands a much higher price on

the black market. Martin Walter, senior director at cybersecurity firm RedSeal, explained,

“Compared to credit card information, personally identifiable information and Social

Security numbers are worth more than 10 times on the black market.”18

       38.    Once PII is sold, it is often used to gain access to various areas of the victim’s

digital life, including bank accounts, social media, credit card, and tax details. This can

lead to additional PII being harvested from the victim, as well as PII from family, friends

and colleagues of the original victim.

       39.    According to the FBI’s Internet Crime Complaint Center (IC3) 2019 Internet

Crime Report, Internet-enabled crimes reached their highest number of complaints and


17
   Bryan Naylor, Victims of Social Security Number Theft Find It’s Hard to Bounce Back,
NPR (Feb. 9, 2015), available at: http://www.npr.org/2015/02/09/384875839/data-stolen-
by-anthem-s-hackers-has-millionsworrying-about-identity-theft (last visited July 28,
2021).
18
   Time Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen Credit
Card      Numbers,       IT      World,     (Feb.      6,     2015),      available  at:
https://www.networkworld.com/article/2880366/anthem-hack-personal-data-stolen-sells-
for-10x-price-of-stolen-credit-card-numbers.html (last visited July 28, 2021).


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dollar losses in 2019, resulting in more than $3.5 billion in losses to individuals and

business victims.

       40.    Victims of identity theft also often suffer embarrassment, blackmail, or

harassment in person or online, and/or experience financial losses resulting from

fraudulently opened accounts or misuse of existing accounts.

       41.    Data breaches facilitate identity theft as hackers obtain consumers’ PII and

thereafter use it to siphon money from current accounts, open new accounts in the names

of their victims, or sell consumers’ PII to others who do the same.

       42.    For example, the United States Government Accountability Office noted in

a June 2007 report on data breaches (the “GAO Report”) that criminals use PII to open

financial accounts, receive government benefits, and make purchases and secure credit in

a victim’s name.19 The GAO Report further notes that this type of identity fraud is the most

harmful because it may take some time for a victim to become aware of the fraud, and can

adversely impact the victim’s credit rating in the meantime. The GAO Report also states

that identity theft victims will face “substantial costs and inconveniences repairing damage

to their credit records . . . [and their] good name.”20

       43.    The exposure of Plaintiffs’ and Class Members’ PII to cybercriminals will

continue to cause substantial risk of future harm (including identity theft) that is continuing



19
    See Government Accountability Office, Personal Information: Data Breaches are
Frequent, but Evidence of Resulting Identity Theft is Limited; However, the Full Extent is
Unknown (June 2007), https://www.gao.gov/assets/gao-07-737.pdf (last visited July 28,
2021).
20
   Id.


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and imminent in light of the many different avenues of fraud and identity theft utilized by

third-party cybercriminals to profit off of this highly sensitive information.

       D. T-Mobile Failed to Comply with Federal Trade Commission Requirements.

       44.    Federal and State governments have established security standards and

issued recommendations to minimize data breaches and the resulting harm to individuals

and financial institutions. The Federal Trade Commission (“FTC”) has issued numerous

guides for businesses that highlight the importance of reasonable data security practices.

According to the FTC, the need for data security should be factored into all business

decision-making.21

       45.    In 2016, the FTC updated its publication, Protecting Personal Information:

A Guide for Business, which established guidelines for fundamental data security principles

and practices for business.22 Among other things, the guidelines note businesses should

properly dispose of personal information that is no longer needed; encrypt information

stored on computer networks; understand their network’s vulnerabilities; and implement

policies to correct security problems. The guidelines also recommend that businesses use

an intrusion detection system to expose a breach as soon as it occurs; monitor all incoming

traffic for activity indicating someone is attempting to hack the system; watch for large

amounts of data being transmitted from the system; and have a response plan ready in the


21
     See Federal Trade Commission, Start With Security (June 2015),
https://www.ftc.gov/system/files/documents/plain-language/pdf0205-
startwithsecurity.pdf (last visited July 28, 2021).
22
   See Federal Trade Commission, Protecting Personal Information: A Guide for Business
(Oct.       2016),         https://www.ftc.gov/system/files/documents/plain-language/pdf-
0136_proteting-personal-information.pdf (last visited July 28, 2021).


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event of a breach.23

       46.    Additionally, the FTC recommends that companies limit access to sensitive

data; require complex passwords to be used on networks; use industry-tested methods for

security; monitor for suspicious activity on the network; and verify that third-party service

providers have implemented reasonable security measures.24

       47.    Highlighting the importance of protecting against phishing and other types

of data breaches, the FTC has brought enforcement actions against businesses for failing

to adequately and reasonably protect PII, treating the failure to employ reasonable and

appropriate measures to protect against unauthorized access to confidential consumer data

as an unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act

(“FTC Act”), 15 U.S.C. § 45. Orders resulting from these actions further clarify the

measures businesses must take to meet their data security obligations.25

       48.    By negligently securing Plaintiffs’ and Class Members’ PII and allowing an

unknown third-party cybercriminal to access T-Mobile systems for a fourth time in two

years in order to access unencrypted customers’ PII, T-Mobile failed to employ reasonable

and appropriate measures to protect against unauthorized access to confidential customer

data. T-Mobile’s data security policies and practices constitute unfair acts or practices

prohibited by Section 5 of the FTC Act, 15 U.S.C. § 45.



23
   Id.
24
   Federal Trade Commission, Start With Security, supra footnote 17.
25
    Federal Trade Commission, Privacy and Security Enforcement Press Releases,
https://www.ftc.gov/news-events/media-resources/protecting-consumer-privacy/privacy-
security-enforcement (last visited July 28, 2021).


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       E. Plaintiff Peralta’s Experience

       49.     Plaintiff Peralta applied for credit with T-Mobile to purchase a phone.

       50.     After applying for credit with T-Mobile, Plaintiff Peralta decided to remain

with her previous mobile phone carrier instead of switching to T-Mobile.

       51.     In late-July of 2021, Plaintiff Peralta began having problems with her credit

report, which showed a $1,000.00 debt to T-Mobile for a phone she did not purchase.

       52.     On or around August 19, 2021, Plaintiff Peralta learned about the T-Mobile

Data Breach.

       53.     Plaintiff Peralta now believes the problem she is having with her credit report

may be the result of the data breach.

       54.     Plaintiff Peralta believes her PII is now being sold on the dark web.

       55.     As a direct and traceable result of the Data Breach, Plaintiff Peralta has been

forced to spend time dealing with and responding to the direct consequences of the Data

Breach, which include spending time on the telephone and sorting through unsolicited

emails, researching the Data Breach, exploring credit monitoring and identity theft

insurance options, and self-monitoring her accounts. This is time that has been lost forever

and cannot be recaptured.

       56.     Plaintiff Peralta is very careful about sharing her PII. She has never

knowingly transmitted unencrypted PII over the internet or any other unsecured source.

       57.     Plaintiff Peralta stores all documents containing her PII in a safe and secure

location. Moreover, she diligently chooses unique usernames and passwords for the few

online accounts that she has.



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       58.       Plaintiff Peralta has suffered actual, concrete injury in the form of damages

to, and diminution in, the value of her PII – a form of intangible property that Plaintiff

Peralta entrusted to Defendant to purchase Defendant’s products and services. This PII was

compromised in, and has been diminished as a result of, the Data Breach.

       59.       Plaintiff Peralta has also suffered actual, concrete injury in the forms of lost

time and opportunity costs, annoyance, interference, and inconvenience as a direct and

traceable result of the Data Breach, and has stress, anxiety and increased concerns due to

the loss of her privacy and the substantial risk of fraud and identity theft which she now

faces as her PII is being sold on the dark web.

       60.       Plaintiff Peralta has suffered imminent and impending injury arising from

the substantially increased risk of fraud, identity theft, and misuse of her PII resulting from

the compromise of her PII, especially her Social Security number and driver’s license

information, in combination with her full name, which PII is now in the hands of cyber

criminals and other unauthorized third parties and being sold on the dark web.

       61.       Knowing that thieves stole her PII, including her Social Security Number and

driver’s license number, along with the other PII she was required to provide to T-Mobile,

and knowing that her PII is now being sold on the dark web, has caused Plaintiff Peralta

great anxiety.

       62.       Additionally, Plaintiff Peralta has never knowingly transmitted unencrypted

PII over the internet or any other unsecured source. She deletes any and all electronic

documents containing her PII and destroys any documents that may contain any of her PII,

or that may contain any information that could otherwise be used to compromise her PII.



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       63.    Plaintiff Peralta has a continuing interest in ensuring that her PII which, upon

information and belief, remains in the possession of Defendant, is protected and

safeguarded from future data breaches, especially considering Defendant’s recent history

of data breaches.

       64.    As a direct and traceable result of the Data Breach, Plaintiff Peralta will

continue to be at heightened risk for financial fraud, identity theft, other forms of fraud,

and the attendant damages, for years to come and will have to pay an identity monitoring

company for the rest of her life to protect her exposed PII.

       F. Plaintiff Grady’s Experience

       65.    Plaintiff Grady became a T-Mobile customer over ten (10) years ago.

       66.    On or around August 20, 2021, Plaintiff Grady received the Notice from T-

Mobile informing him of the Data Breach.

       67.    Upon information and belief, Mr. Grady’s PII is now being sold on the dark

web.

       68.    As a direct and traceable result of the Data Breach, Plaintiff Grady has been

forced to spend time dealing with and responding to the direct consequences of the Data

Breach, which include researching the Data Breach, exploring credit monitoring and

identity theft insurance options, and self-monitoring his accounts. This is time that has been

lost forever and cannot be recaptured.

       69.    Plaintiff Grady is careful about sharing his PII. He has never knowingly

transmitted unencrypted PII over the internet or any other unsecured source.

       70.    Plaintiff Grady stores all documents containing his PII in a safe and secure



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location. Moreover, he diligently chooses unique usernames and passwords for the online

accounts that he has.

       71.       Plaintiff Grady has suffered actual, concrete injury in the form of damages

to, and diminution in, the value of his PII – a form of intangible property that Plaintiff

Grady entrusted to Defendant to purchase Defendant’s products and services. This PII was

compromised in, and has been diminished as a result of, the Data Breach.

       72.       Plaintiff Grady has also suffered actual, concrete injury in the forms of lost

time and opportunity costs, annoyance, interference, and inconvenience as a direct and

traceable result of the Data Breach, and has stress, anxiety and increased concerns due to

the loss of his privacy and the substantial risk of fraud and identity theft which he now

faces as his PII is being sold on the dark web.

       73.       Plaintiff Grady has suffered imminent and impending injury arising from the

substantially increased risk of fraud, identity theft, and misuse of his PII resulting from the

compromise of his PII, especially his Social Security number and driver’s license

information, in combination with his full name, which PII is now in the hands of cyber

criminals and other unauthorized third parties and being sold on the dark web.

       74.       Knowing that thieves stole his PII, including his Social Security Number and

driver’s license number, along with the other PII he was required to provide to T-Mobile,

and knowing that his PII is now being sold on the dark web, has caused Plaintiff Grady

great anxiety.

       75.       Additionally, Plaintiff Grady has never knowingly transmitted unencrypted

PII over the internet or any other unsecured source. He deletes any and all electronic



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documents containing his PII and destroys any documents that may contain any of his PII,

or that may contain any information that could otherwise be used to compromise his PII.

       76.    Plaintiff Grady has a continuing interest in ensuring that his PII which, upon

information and belief, remains in the possession of Defendant, is protected and

safeguarded from future data breaches, especially considering Defendant’s recent history

of data breaches.

       77.    As a direct and traceable result of the Data Breach, Plaintiff Grady will

continue to be at heightened risk for financial fraud, identity theft, other forms of fraud,

and the attendant damages, for years to come and will have to pay an identity monitoring

company for the rest of his life to protect his exposed PII.

       G. Plaintiff Jones’s Experience

       78.    Plaintiff Jones became a T-Mobile customer in or about the year 2016.

       79.    On or around August 20, 2021, Plaintiff Jones received the Notice from T-

Mobile informing him of the Data Breach.

       80.    Upon information and belief, Mr. Jones’s PII is now being sold on the dark

web.

       81.    As a direct and traceable result of the Data Breach, Plaintiff Jones has been

forced to spend time dealing with and responding to the direct consequences of the Data

Breach, which include spending time on the telephone and sorting through unsolicited

emails, researching the Data Breach, exploring credit monitoring and identity theft

insurance options, and self-monitoring his accounts. This is time that has been lost forever

and cannot be recaptured.



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       82.    Plaintiff Jones is very careful about sharing his PII. He has never knowingly

transmitted unencrypted PII over the internet or any other unsecured source.

       83.    Plaintiff Jones stores all documents containing his PII in a safe and secure

location. Moreover, he diligently chooses unique usernames and passwords for the online

accounts that he has.

       84.    Plaintiff Jones has suffered actual, concrete injury in the form of damages to,

and diminution in, the value of his PII – a form of intangible property that Plaintiff Jones

entrusted to Defendant to purchase Defendant’s products and services. This PII was

compromised in, and has been diminished as a result of, the Data Breach.

       85.    Plaintiff Jones has also suffered actual, concrete injury in the forms of lost

time and opportunity costs, annoyance, interference, and inconvenience as a direct and

traceable result of the Data Breach, and has stress, anxiety and increased concerns due to

the loss of his privacy and the substantial risk of fraud and identity theft which he now

faces as his PII is being sold on the dark web.

       86.    Plaintiff Jones has suffered imminent and impending injury arising from the

substantially increased risk of fraud, identity theft, and misuse of his PII resulting from the

compromise of his PII, especially his Social Security number and driver’s license

information, in combination with his full name, which PII is now in the hands of cyber

criminals and other unauthorized third parties and being sold on the dark web.

       87.    Knowing that thieves stole his PII, including his Social Security Number and

driver’s license number, along with the other PII he was required to provide to T-Mobile,

and knowing that his PII is now being sold on the dark web, has caused Plaintiff Jones



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great anxiety.

       88.       Additionally, Plaintiff Jones has never knowingly transmitted unencrypted

PII over the internet or any other unsecured source. He deletes any and all electronic

documents containing his PII and destroys any documents that may contain any of his PII,

or that may contain any information that could otherwise be used to compromise his PII.

       89.       Plaintiff Jones has a continuing interest in ensuring that his PII which, upon

information and belief, remains in the possession of Defendant, is protected and

safeguarded from future data breaches, especially considering Defendant’s recent history

of data breaches.

       90.       As a direct and traceable result of the Data Breach, Plaintiff Jones will

continue to be at heightened risk for financial fraud, identity theft, other forms of fraud,

and the attendant damages, for years to come and will have to pay an identity monitoring

company for the rest of his life to protect his exposed PII.

       H. Plaintiffs and the Class Members suffered damages.

       91.       The ramifications of Defendant’s failure to keep current and former

customers’ PII secure are long lasting and severe. Once PII is stolen, fraudulent use of that

information and damage to victims may continue for years.26

       92.       The PII belonging to Plaintiffs and Class Members is private, sensitive in

nature, and was left inadequately protected by Defendant who did not obtain Plaintiffs’ or



26
   2014     LexisNexis    True    Cost     of     Fraud      Study,    available            at:
https://www.lexisnexis.com/risk/downloads/assets/true-cost-fraud-2014.pdf                 (last
accessed July 28, 2021).


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Class Members’ consent to disclose such PII to any other person as required by applicable

law and industry standards.

       93.    Defendant required Plaintiffs and Class Members to provide it with their PII,

including full names and Social Security numbers. Implied in these exchanges was a

promise by Defendant to ensure that the PII of Plaintiffs and Class Members in its

possession was only used to provide the agreed-upon products and services being offered

by Defendant.

       94.    Plaintiffs and Class Members, therefore, did not receive the benefit of the

bargain with Defendant, because providing their PII to Defendant was in exchange for

Defendant’s agreement to secure it and keep it safe.

       95.    The Data Breach was a direct and proximate result of T-Mobile’s failure to:

(a) properly safeguard and protect Plaintiffs’ and Class Members’ PII from unauthorized

access, use, and disclosure, as required by various state and federal regulations, industry

practices, and common law; (b) establish and implement appropriate administrative,

technical, and physical safeguards to ensure the security and confidentiality of Plaintiffs’

and Class Members’ PII; and (c) protect against reasonably foreseeable threats to the

security or integrity of such information.

       96.    Defendant had the resources necessary to prevent the Data Breach, but

neglected to implement adequate data security measures, despite its obligations to protect

current and former customers’ PII, and despite its public statements and representations

that T-Mobile would keep their PII safe.

       97.    Had Defendant remedied the deficiencies in its data security systems and



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protocols and adopted security measures recommended by experts in the field, it would

have prevented the intrusion leading to the theft of PII.

         98.      As a direct and proximate result of Defendant’s wrongful actions and

inactions, Plaintiffs and Class Members have been placed at an imminent, immediate, and

continuing increased risk of harm from identity theft and fraud, requiring them to take the

time which they otherwise would have dedicated to other life demands such as work and

family in an effort to mitigate the actual and potential impact of the Data Breach on their

lives.

         99.      The U.S. Department of Justice’s Bureau of Justice Statistics found that

“among victims who had personal information used for fraudulent purposes, 29% spent a

month or more resolving problems” and that “resolving the problems caused by identity

theft [could] take more than a year for some victims.”27

         100.     As a direct result of the Defendant’s failures to prevent the Data Breach,

Plaintiffs and Class Members have suffered, will suffer, and are at increased risk of

suffering:

         a. The compromise, publication, theft, and/or unauthorized use of their PII;

         b. Out-of-pocket costs associated with the prevention, detection, recovery, and

               remediation from identity theft or fraud;




27
   U.S. Department of Justice, Office of Justice Programs Bureau of Justice Statistics,
Victims    of    Identity   Theft,    2012,      December      2013,     available  at:
https://www.bjs.gov/content/pub/pdf/vit12.pdf (last accessed July 28, 2021).


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       c. Lost opportunity costs and lost wages associated with efforts expended and the

          loss of productivity from addressing and attempting to mitigate the actual and

          future consequences of the Data Breach, including but not limited to efforts

          spent researching how to prevent, detect, contest, and recover from identity theft

          and fraud;

       d. The continued risk to their PII, which remains in the possession of Defendant

          and is subject to further breaches so long as Defendant continues to fail to

          undertake appropriate measures to protect the PII in its possession; and

       e. Current and future costs in terms of time, effort, and money that will be

          expended to prevent, detect, contest, remediate, and repair the impact of the Data

          Breach for the remainder of the lives of Plaintiffs and Class Members.

       101.   In addition to a remedy for the economic harm, Plaintiffs and Class Members

maintain an undeniable interest in ensuring that their PII is secure, remains secure, and is

not subject to further misappropriation and theft, especially considering Defendant’s recent

history of data breaches.

       102.   To date, other than providing a woefully inadequate twenty-four (24) months

of credit monitoring and identity protection services, Defendant does not appear to be

taking any measures to assist Plaintiffs and Class Members.

       103.   Defendant’s failure to adequately protect Plaintiffs’ and Class Members’ PII

has resulted in Plaintiffs and Class Members having to undertake tasks requiring extensive

amounts of time, calls, and, for many of the credit and fraud protection services, payment

of money – while Defendant sits by and does nothing to assist those affected by the Data



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Breach. Instead, as Defendant’s Notice and website notification indicate, it is putting the

burden on Plaintiffs and Class Members to discover possible fraudulent activity and

identity theft.

       104.       Defendant’s offer of twenty-four (24) months of credit monitoring and

identity theft protection services to Plaintiffs and Class Members is woefully inadequate.

While some harm has already begun, the worst may be yet to come. There may be a time

lag between when harm occurs versus when it is discovered and also between when PII is

acquired and when it is used. Furthermore, identity theft monitoring services only alert

someone to the fact that they have already been the victim of identity theft (i.e., fraudulent

acquisition and use of another person’s PII) – they do not prevent identity theft.28

                               CLASS ACTION ALLEGATIONS

       105.       Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs bring

this action on behalf of themselves and the following proposed Nationwide Class, defined

as follows:

       Nationwide Class

       All persons residing in the United States who are current or former customers of T-
       Mobile or any T-Mobile affiliate, parent, or subsidiary, and had their PII
       compromised by an unknown third-party cybercriminal as a result of the Data
       Breach.

       In addition, Plaintiffs bring this action on behalf of the following proposed

Oklahoma Subclass defined as follows:


28
  See, e.g., Kayleigh Kulp, Credit Monitoring Services May Not Be Worth the Cost, Nov.
30, 2017, https://www.cnbc.com/2017/11/29/credit-monitoring-services-may-not-be-
worth-the-cost.html (last visited July 28, 2021).


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        Oklahoma Subclass


             All persons residing in the State of Oklahoma who are current or
             former customers of T-Mobile or any T-Mobile affiliate, parent, or
             subsidiary, and had their PII compromised as a result of the Data
             Breach.

        106.     Both the proposed Nationwide Class and the proposed Oklahoma Subclass

will be collectively referred to as the Class, except where it is necessary to differentiate

them.

        107.     Excluded from the proposed Class are any officer or director of Defendant;

any officer or director of any affiliate, parent, or subsidiary of T-Mobile; anyone employed

by counsel in this action; and any judge to whom this case is assigned, his or her spouse,

and members of the judge’s staff.

        108.     Numerosity. Members of the proposed Class likely number in the tens of

thousands and are thus too numerous to practically join in a single action. Membership in

the Class is readily ascertainable from Defendant’s own records.

        109.     Commonality and Predominance. Common questions of law and fact exist

as to all proposed Class Members and predominate over questions affecting only individual

Class Members. These common questions include:

        a.       Whether Defendant engaged in the wrongful conduct alleged herein;

        b.       Whether Defendant’s inadequate data security measures were a cause of the

                 Data Breach;

        c.       Whether Defendant owed a legal duty to Plaintiffs and the other Class

                 Members to exercise due care in collecting, storing, and safeguarding their



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                PII;

       d.       Whether Defendant negligently or recklessly breached legal duties owed to

                Plaintiffs and the Class Members to exercise due care in collecting, storing,

                and safeguarding their PII;

       e.       Whether Plaintiffs and the Class are at an increased risk for identity theft

                because of the Data Breach;

       f.      Whether Defendant failed to implement and maintain reasonable security

               procedures and practices for Plaintiffs’ and Class Members’ PII in violation

               Section 5 of the FTC Act;

       g.       Whether Plaintiffs and the other Class Members are entitled to actual,

                statutory, or other forms of damages, and other monetary relief; and

       h.       Whether Plaintiffs and the other Class Members are entitled to equitable

                relief, including, but not limited to, injunctive relief and restitution.

       110.     Defendant engaged in a common course of conduct giving rise to the legal

rights sought to be enforced by Plaintiffs individually and on behalf of the other Class

Members. Similar or identical statutory and common law violations, business practices,

and injuries are involved. Individual questions, if any, pale by comparison, in both quantity

and quality, to the numerous questions that dominate this action.

       111.     Typicality: Plaintiffs’ claims are typical of the claims of the Members of the

Class. All Class Members were subject to the Data Breach and had their PII accessed by

and/or disclosed to unauthorized third parties. Defendant’s misconduct affected all Class

Members in the same manner.



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          112.   Adequacy of Representation: Plaintiffs are adequate representatives of the

Class because their interests do not conflict with the interests of the other Class Members

they seek to represent; they have retained counsel competent and experienced in complex

class action litigation, and Plaintiffs will prosecute this action vigorously. The interests of

the Class will be fairly and adequately protected by Plaintiffs and their counsel.

          113.   Superiority: A class action is superior to any other available means for the

fair and efficient adjudication of this controversy, and no unusual difficulties are likely to

be encountered in the management of this matter as a class action. The damages, harm, or

other financial detriment suffered individually by Plaintiffs and the other Class Members

are relatively small compared to the burden and expense that would be required to litigate

their claims on an individual basis against Defendant, making it impracticable for Class

Members to individually seek redress for Defendant’s wrongful conduct. Even if Class

Members could afford individual litigation, the court system could not. Individualized

litigation would create a potential for inconsistent or contradictory judgments and increase

the delay and expense to all parties and the court system. By contrast, the class action

device presents far fewer management difficulties and provides the benefits of single

adjudication, economies of scale, and comprehensive supervision by a single court.

                               FIRST CAUSE OF ACTION
                                         Negligence
                    (On behalf of Plaintiffs and the Nationwide Class or,
                          alternatively, the Oklahoma Subclass)

          114.   Plaintiffs incorporate the foregoing paragraphs as though fully set forth

herein.




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       115.    Defendant owed a duty to Plaintiffs and the Class to exercise reasonable care

in obtaining, securing, safeguarding, storing, and protecting Plaintiffs’ and Class Members’

PII from being compromised, lost, stolen, and accessed by unauthorized persons. This duty

includes, among other things, designing, maintaining, and testing its data security systems

to ensure that Plaintiffs’ and Class Members’ PII in Defendant’s possession was adequately

secured and protected.

       116.    Defendant owed a duty of care to Plaintiffs and Members of the Class to

provide security, consistent with industry standards, to ensure that its protocols, systems,

and networks adequately protected the PII of its current and former customers.

       117.    Defendant owed a duty of care to Plaintiffs and Class Members because they

were foreseeable and probable victims of any inadequate data security practices. Defendant

knew or should have known of the inherent risks in collecting and storing the PII of its

current and former customers, especially in light of its recent history of data breaches;

Defendant also should have known of the critical importance of adequately securing such

information.

       118.    Plaintiffs and Class Members entrusted Defendant with their PII with the

understanding that Defendant would safeguard it, that Defendant would not store it longer

than necessary, and that Defendant was in a position to protect against the harm suffered

by Plaintiffs and Class Members as a result of the Data Breach.

       119.    Defendant’s own conduct also created a foreseeable risk of harm to Plaintiffs

and Class Members and their PII. Defendant’s misconduct included failing to implement

the necessary systems, policies, employee training and procedures necessary to prevent the



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Data Breach.

       120.    Defendant knew, or should have known, of the risks inherent in collecting

and storing PII and the importance of adequate security. Defendant knew about – or should

have been aware of – numerous, well-publicized data breaches affecting businesses in the

United States.

       121.    Defendant breached its duties to Plaintiffs and Class Members by failing to

provide fair, reasonable, or adequate computer systems and data security to safeguard the

PII of Plaintiffs and Class Members.

       122.    Plaintiffs’ injuries and damages, as described below, are a reasonably certain

consequence of T-Mobile’s breach of its duties.

       123.    Because Defendant knew that a breach of its systems would damage millions

of current and former T-Mobile customers whose PII was being carelessly maintained,

Defendant had a duty to improve its data systems and adequately protect the PII contained

therein.

       124.    Defendant had a special relationship with current and former customers,

including with Plaintiffs and Class Members, by virtue of their being current or former

customers. Plaintiffs and Class Members reasonably believed that Defendant would take

adequate security precautions to protect their PII. Defendant also had independent duties

under state and federal laws that required Defendant to reasonably safeguard Plaintiffs’ and

Class Members’ PII.

       125.    Through Defendant’s acts and omissions, including Defendant’s failure to

provide adequate security and its failure to protect Plaintiffs’ and Class Members’ PII from



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being foreseeably accessed, Defendant unlawfully breached its duty to use reasonable care

to adequately protect and secure the PII of Plaintiffs and Class Members during the time it

was within Defendant’s possession or control.

       126.   By engaging in the negligent acts and omissions alleged herein, which

permitted an unknown third party to access an T-Mobile’s systems containing the PII at

issue, Defendant failed to meet the data security standards set forth under Section 5 of the

FTC Act, which prohibits “unfair…practices in or affecting commerce.” This prohibition

includes failing to have adequate data security measures, which Defendant has failed to do

as discussed herein.

       127.   Defendant’s failure to meet this standard of data security established under

Section 5 of the FTC Act is evidence of negligence.

       128.   Neither Plaintiffs nor the other Class Members contributed to the Data

Breach as described in this Complaint.

       129.   As a direct and proximate cause of Defendant’s actions and inactions,

including but not limited to its failure to properly encrypt its systems and otherwise

implement and maintain reasonable security procedures and practices, Plaintiffs and Class

Members have suffered and/or will suffer concrete injury and damages, including but not

limited to: (i) the loss of the opportunity to determine for themselves how their PII is used;

(ii) the publication and/or theft of their PII; (iii) out-of-pocket expenses associated with the

prevention, detection, and recovery from identity theft, tax fraud, and/or unauthorized use

of their PII, including the need for substantial credit monitoring and identity protection

services for an extended period of time; (iv) lost opportunity costs associated with effort



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expended and the loss of productivity addressing and attempting to mitigate the actual and

future consequences of the Data Breach, including but not limited to efforts spent

researching how to prevent, detect, contest and recover from tax fraud and identity theft;

(v) costs associated with placing freezes on credit reports and password protection; (vi)

anxiety, emotional distress, loss of privacy, and other economic and non-economic losses;

(vii) the continued risk to their PII, which remains in Defendant’s possession and is subject

to further unauthorized disclosures so long as Defendant fails to undertake appropriate and

adequate measures to protect the PII of customers and former customers in its continued

possession; and (viii) future costs in terms of time, effort and money that will be expended

to prevent, detect, contest, and repair the inevitable and continuing consequences of

compromised PII for the rest of their lives.

                             SECOND CAUSE OF ACTION
                                Breach of Implied Contract
                    (On behalf of Plaintiffs and the Nationwide Class or,
                          alternatively, the Oklahoma Subclass)

          130.   Plaintiffs incorporate the foregoing paragraphs as though fully set forth

herein.

          131.   Defendant offered products and services to the current or former customers,

including Plaintiffs and Class Members, in exchange for monetary payment.

          132. As a condition of the purchase, Defendant required Plaintiffs and Class

Members to provide their PII, including names, addresses, dates of birth, Social Security

numbers, driver’s license numbers, and other personal information. Implied in these

exchanges was a promise by Defendant to ensure that the PII of Plaintiffs and Class




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Members in its possession was only used to provide the agreed-upon products and services

from Defendant.

       133.    These exchanges constituted an agreement between the parties: Plaintiffs and

Class Members would provide their PII in exchange for the products and services provided

by Defendant.

       134. These agreements were made by Plaintiffs or Class Members who were

customers of Defendant.

       135. It is clear by these exchanges that the parties intended to enter into an

agreement. Plaintiffs and Class Members would not have disclosed their PII to Defendant

but for the prospect of Defendant’s promise of providing the products and services

purchased by Plaintiffs and the Class. Conversely, Defendant presumably would not have

taken Plaintiffs’ and Class Members’ PII if it did not intend to provide Plaintiffs and Class

Members with the bargained-for products and services.

       136.    Defendant was therefore required to reasonably safeguard and protect the PII

of Plaintiffs and Class Members from unauthorized disclosure and/or use.

       137.    Plaintiffs and Class Members accepted Defendant’s offer of products and

services and fully performed their obligations under the implied contract with Defendant

by providing payment and their PII, directly or indirectly, to Defendant, among other

obligations.

       138.    Plaintiffs and Class Members would not have provided and entrusted their

PII to Defendant in the absence of their implied contracts with Defendant and would have

instead retained the opportunity to control their PII for uses other than the purchase and



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use of T-Mobile products and services.

          139.   Defendant breached the implied contracts with Plaintiffs and Class Members

by failing to reasonably safeguard and protect Plaintiffs’ and Class Members’ PII.

          140.   Defendant’s failure to implement adequate measures to protect the PII of

Plaintiffs and Class Members violated the purpose of the agreement between the parties.

          141.   Defendant was on notice that its systems and data security protocols were

inadequate yet failed to invest in the proper safeguarding of Plaintiffs’ and Class Members’

PII.

          142.   Instead of spending adequate financial resources to safeguard Plaintiffs’ and

Class Members’ PII, which Plaintiffs and Class Members were required to provide to

Defendant, Defendant instead used that money for other purposes, thereby breaching its

implied contracts it had with Plaintiffs and Class Members.

          143.   As a proximate and direct result of Defendant’s breaches of its implied

contracts with Plaintiffs and Class Members, Plaintiffs and the Class Members suffered

damages as described in detail above.

                               THIRD CAUSE OF ACTION
                                   Breach of Confidence
                    (On behalf of Plaintiffs and the Nationwide Class or,
                          alternatively, the Oklahoma Subclass)

          144.   Plaintiffs incorporate the foregoing paragraphs as though fully set forth

herein.

          145.   At all times during Plaintiffs’ and Class Members’ interactions with

Defendant as its customers, Defendant was fully aware of the confidential and sensitive




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nature of Plaintiffs’ and Class Members’ PII that Plaintiffs and Class Members provided

to Defendant.

       146.     Plaintiffs’ and Class Members’ PII constitutes confidential and novel

information. Indeed, Plaintiffs’ and Class Members’ Social Security numbers can be

changed only with great difficulty and time spent, which still enables a threat actor to

exploit that information during the interim; additionally, an individual cannot obtain a new

Social Security number without significant paperwork and evidence of actual misuse. In

other words, preventive action to defend against the possibility of misuse of a Social

Security number is not permitted; an individual must show evidence of actual, ongoing

fraud activity to obtain a new number.

       147.     As alleged herein and above, Defendant’s relationship with Plaintiffs and

Class Members was governed by terms and expectations that Plaintiffs’ and Class

Members’ PII would be collected, stored, and protected in confidence, and would not be

disclosed to unauthorized third parties.

       148.     Plaintiffs and Class Members provided their respective PII to Defendant with

the explicit and implicit understandings that Defendant would protect and not permit the

PII to be disseminated to any unauthorized parties.

       149.     Defendant voluntarily received in confidence Plaintiffs’ and Class Members’

PII with the understanding that the PII would not be disclosed or disseminated to the public

or any unauthorized third parties.

       150.     Due to Defendant’s failure to prevent, detect, and avoid the Data Breach from

occurring by, inter alia, not following best information security practices and by not



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providing proper employee training to secure Plaintiff’s and Class Members’ PII,

Plaintiffs’ and Class Members’ PII was disclosed and misappropriated to unauthorized

third parties beyond Plaintiffs’ and Class Members’ confidence, and without their express

permission.

       151.   As a direct and proximate cause of Defendant’s actions and/or omissions,

Plaintiffs and Class Members have suffered damages.

       152.   But for Defendant’s disclosure of Plaintiffs’ and Class Members’ PII, in

violation of the parties’ understanding of confidence, Plaintiffs’ and Class Members’ PII

would not have been compromised, stolen, viewed, accessed, and used by unauthorized

third parties. Defendant’s Data Breach was the direct and legal cause of the theft of

Plaintiffs’ and Class Members’ PII, as well as the resulting damages.

       153.   This disclosure of Plaintiffs’ and Class Members’ PII constituted a violation

of Plaintiffs’ and Class Members’ understanding that Defendant would safeguard and

protect the confidential and novel PII that Plaintiffs and Class Members were required to

disclose to Defendant.

       154.   The concrete injury and harm Plaintiffs and Class Members suffered was the

reasonably foreseeable result of Defendant’s unauthorized disclosure of Plaintiffs’ and

Class Members’ PII. Defendant knew its data security procedures for accepting and

securing Plaintiffs’ and Class Members’ PII had numerous security and other

vulnerabilities that placed Plaintiffs’ and Class Members’ PII in jeopardy.

       155.   As a direct and proximate result of Defendant’s breaches of confidence,

Plaintiffs and Class Members have suffered and/or are at a substantial risk of suffering



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concrete injury that includes but is not limited to: (a) actual identity theft; (b) the

compromise, publication, and/or theft of their PII; (c) out-of-pocket expenses associated

with the prevention, detection, and recovery from identity theft and/or unauthorized use of

their PII; (d) lost opportunity costs associated with effort expended and the loss of

productivity addressing and attempting to mitigate the actual and future consequences of

the Data Breach, including but not limited to efforts spent researching how to prevent,

detect, contest, and recover from identity theft; (e) the continued risk to their PII, which

remains in Defendant’s possession and is subject to further unauthorized disclosures so

long as Defendant fails to undertake appropriate and adequate measures to protect the PII

in its continued possession; and (f) future costs in terms of time, effort, and money that will

be expended as result of the Data Breach for the remainder of the lives of Plaintiffs and

Class Members.

                           FOURTH CAUSE OF ACTION
                                 Invasion of Privacy
 (On behalf of Plaintiffs and the Nationwide Class or, alternatively, the Oklahoma
                                      Subclass)

          156.   Plaintiffs incorporate the foregoing paragraphs as though fully set forth

herein.

          157.   Oklahoma establishes the right to privacy in the Oklahoma Constitution’s

Right to Privacy clause. See Okla. Const. Art. II, Section 30.

          158.   Plaintiffs and Class Members had a legitimate and reasonable expectation of

privacy with respect to their PII and were accordingly entitled to the protection of this

personal information against disclosure to and acquisition by unauthorized third parties.




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       159.   Defendant owed a duty to its customers, including Plaintiffs and Class

Members, to keep their PII private and confidential.

       160.   The     unauthorized     access,     acquisition,   appropriation,    disclosure,

encumbrance, exfiltration, release, theft, use, and/or viewing of PII, especially the PII that

is the subject of this action, is highly offensive to a reasonable person.

       161.   This intrusion of privacy was an intrusion into a place or thing belonging to

Plaintiffs and Class Members that was private and is entitled to remain private. Plaintiffs

and Class Members disclosed their PII to Defendant as part of their purchases of

Defendant’s products and services, but did so privately with the intention and

understanding that the PII would be kept confidential and protected from unauthorized

access, acquisition, appropriation, disclosure, encumbrance, exfiltration, release, theft, use,

and/or viewing. Plaintiffs and Class Members were reasonable in their belief that such

information would be kept private and would not be disclosed without their authorization.

The Data Breach, which was caused by Defendant’s negligent actions and inactions,

constitutes an intentional interference with Plaintiffs’ and Class Members’ interest in

solitude or seclusion, either as to their persons or as to their private affairs or concerns, of

a kind that would be highly offensive to a reasonable person.

       162.   Defendant acted with a knowing state of mind when it permitted the Data

Breach because it knew its information security practices were inadequate.

       163.   Defendant invaded Plaintiff’s and Class Members’ privacy by failing to

adequately implement data security measures, despite its obligations to protect current and

former customers’ highly sensitive PII.



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       164.   Defendant’s motives leading to the Data Breach were financially based. In

order to save on operating costs, Defendant decided against the implement of adequate data

security measures.

       165.   Defendant’s intrusion upon Plaintiffs’ and Class Members’ privacy in order

to save money constitutes an egregious breach of social norms.

       166.   Acting with knowledge, Defendant had notice and knew that its inadequate

cybersecurity practices would cause injury to Plaintiffs and Class Members.

       167.   As a proximate result of Defendant’s acts and omissions, Plaintiffs’ and

Class Members’ PII was accessed by, acquired by, appropriated by, disclosed to,

encumbered by, exfiltrated by, obtained by, released to, stolen by, used by, and/or viewed

by third parties without authorization, causing Plaintiffs and Class Members to suffer

concrete damages as described herein.

       168.   Unless and until enjoined and restrained by order of this Court, Defendant’s

wrongful conduct will continue to cause great and irreparable injury to Plaintiffs and Class

Members in that the PII maintained by Defendant can still be accessed by, acquired by,

appropriated by, disclosed to, encumbered by, exfiltrated by, released to, stolen by, used

by, and/or viewed by unauthorized persons.

       169.   Plaintiffs and Class Members have no adequate remedy at law for the injuries

they have suffered and are at imminent risk of suffering in that a judgment for monetary

damages will not end the invasion of privacy for Plaintiffs and Class Members.

                            FIFTH CAUSE OF ACTION
                              Breach of Fiduciary Duty
 (On behalf of Plaintiffs and the Nationwide Class or, alternatively, the Oklahoma



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                                           Subclass)

          170.   Plaintiffs incorporate the foregoing paragraphs as though fully set forth

herein.

          171.   In light of their special relationship, Defendant became the guardian of

Plaintiffs’ and Class Members’ PII. Defendant became a fiduciary, created by its

undertaking and guardianship of its customers’ PII, to act primarily for the benefit of those

customers, including Plaintiffs and Class Members. This duty included the obligation to

safeguard Plaintiffs’ and Class Members’ PII and to timely detect and notify them in the

event of a data breach.

          172.   In order to provide Plaintiffs and Class Members compensation and

employment benefits, or to even consider Plaintiffs and Class Members for employment,

Defendant required that Plaintiffs and Class Members provide their PII.

          173.   Defendant knowingly undertook the responsibility and duties related to the

possession of Plaintiffs’ and Class Members’ PII for the benefit of Plaintiffs and Class

Members in order to provide Plaintiffs and Class Members compensation and employment

benefits.

          174.   Defendant has a fiduciary duty to act for the benefit of Plaintiffs and Class

Members upon matters within the scope of its relationship with them. Defendant breached

its fiduciary duties owed to Plaintiffs and Class Members by failing to properly encrypt

and otherwise protect Plaintiffs’ and Class Members’ PII. Defendant further breached its

fiduciary duties owed to Plaintiffs and Class Members by failing to timely detect the Data

Breach and notify and/or warn Plaintiffs and Class Members of the Data Breach.



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       175.   As a direct and proximate result of Defendant’s breaches of its fiduciary

duties, Plaintiffs and Class Members have suffered or will suffer concrete injury, including

but not limited to (a) actual identity theft; (b) the loss of the opportunity of how their PII is

used; (c) the unauthorized access, acquisition, appropriation, disclosure, encumbrance,

exfiltration, release, theft, use, and/or viewing of their PII; (d) out-of-pocket expenses

associated with the prevention, detection, and recovery from identity theft and/or

unauthorized use of their PII; (e) lost opportunity costs associated with efforts expended

and the loss of productivity addressing and attempting to mitigate the actual and future

consequences of the Data Breach, including but not limited to efforts spent researching

how to prevent, detect, contest, and recover from identity theft; (f) the continued risk to

their PII, which remains in Defendant’s possession and is subject to further unauthorized

disclosures so long as Defendant fails to undertake appropriate and adequate measures to

protect Plaintiff’s and Class Members’ PII in its continued possession; and (g) future costs

in terms of time, effort, and money that will be expended to prevent, detect, contest, and

repair the impact of the PII compromised as a direct and traceable result of the Data Breach

for the remainder of the lives of Plaintiffs and Class Members.

       176.   As a direct and proximate result of Defendant’s breach of its fiduciary duty,

Plaintiffs and Class Members have suffered and will continue to suffer other forms of

injury and/or harm, and other economic and non-economic losses.

                            SIXTH CAUSE OF ACTION
               Breach of Covenant of Good Faith and Fair Dealing
 (On behalf of Plaintiffs and the Nationwide Class or, alternatively, the Oklahoma
                                      Subclass)




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          177.   Plaintiffs incorporate the foregoing paragraphs as though fully set forth

herein.

          178.   As described above, when Plaintiffs and the Class Members provided their

PII to Defendant, they entered into implied contracts in which Defendant agreed to comply

with its statutory and common law duties and industry standards to protect Plaintiffs’ and

Class Members’ PII and to timely detect and notify them in the event of a data breach.

          179.   These exchanges constituted an agreement between the parties: Plaintiffs and

Class Members were required to provide their PII in exchange for products and services

provided by Defendant, as well as an implied covenant by Defendant to protect Plaintiffs’

PII in its possession.

          180.   It was clear by these exchanges that the parties intended to enter into an

agreement. Plaintiffs and Class Members would not have disclosed their PII to Defendant

but for the prospect of Defendant’s promise of certain products and services. Conversely,

Defendant presumably would not have taken Plaintiffs’ and Class Members’ PII if it did

not intend to provide Plaintiffs and Class Members with the products and services it was

offering.

          181.   Implied in these exchanges was a promise by Defendant to ensure that the

PII of Plaintiffs and Class Members in its possession was only used to provide the agreed-

upon products and services.

          182.   Plaintiffs and Class Members therefore did not receive the benefit of the

bargain with Defendant, because they provided their PII in exchange for T-Mobile’s

implied agreement to keep it safe and secure.



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       183.   While Defendant had discretion in the specifics of how it met the applicable

laws and industry standards, this discretion was governed by an implied covenant of good

faith and fair dealing.

       184.   Defendant breached this implied covenant when it engaged in acts and/or

omissions that are declared unfair trade practices by the FTC and state statutes and

regulations. These acts and omissions included: omitting, suppressing, and concealing the

material fact of the inadequacy of the privacy and security protections for Plaintiffs’ and

Class Members’ PII; storing the PII of former customers, despite any valid purpose for the

storage thereof having ceased upon the termination of the business relationship with those

individuals; and failing to disclose to Plaintiffs and Class Members at the time they

provided their PII to it that Defendant’s data security systems failed to meet applicable

legal and industry standards.

       185.   Plaintiffs and Class Members did all or substantially all the significant things

that the contract required them to do.

       186.   Likewise, all conditions required for Defendant’s performance were met.

       187.   Defendant’s acts and omissions unfairly interfered with Plaintiffs’ and Class

Members’ rights to receive the full benefit of their contracts.

       188.   Plaintiffs and Class Members have been or will be harmed by Defendant’s

breach of this implied covenant in the many ways described above, including actual

identity theft and/or imminent risk of certainly impending and devastating identity theft

that exists now that cyber criminals have their PII, and the attendant long-term expense of

attempting to mitigate and insure against these risks.



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          189.   Defendant is liable for its breach of these implied covenants, whether or not

it is found to have breached any specific express contractual term.

          190.   Plaintiffs and Class Members are entitled to damages, including

compensatory damages and restitution, declaratory and injunctive relief, and attorney fees,

costs, and expenses.

                          SEVENTH CAUSE OF ACTION
                          Declaratory and Injunctive Relief
   (On behalf of Plaintiffs and Nationwide Class or, alternatively, the Oklahoma
                                     Subclass)

          191.   Plaintiffs incorporate the foregoing paragraphs as though fully set forth

herein.

          192.   This Count is brought under the federal Declaratory Judgment Act, 28 U.S.C.

§2201.

          193.   As previously alleged, Plaintiffs and Class Members entered into an implied

contract that required Defendant to provide adequate security for the PII it collected from

Plaintiffs and Class Members.

          194.   Defendant owes a duty of care to Plaintiffs and Class Members requiring it

to adequately secure their PII.

          195.   Defendant still possesses Plaintiffs’ and Class Members’ PII.

          196.   Since the Data Breach, Defendant has announced few, if any, changes to its

data security infrastructure, processes, or procedures to fix the vulnerabilities in its

computer systems and/or security practices which permitted the Data Breach to occur and,

thereby, prevent future attacks.




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       197.    Defendant has not satisfied its contractual obligations and legal duties to

Plaintiffs and Class Members. In fact, now that Defendant’s insufficient data security is

known to hackers, the PII in Defendant’s possession is even more vulnerable to

cyberattack.

       198.    Actual harm has arisen in the wake of the Data Breach regarding Defendant’s

contractual obligations and duties of care to provide security measures to Plaintiffs and

Class Members. Further, Plaintiffs and Class Members are at risk of additional or further

harm due to the exposure of their PII and Defendant’s failure to address the security failings

that led to such exposure.

       199.    There is no reason to believe that Defendant’s security measures are any

more adequate now than they were before the Data Breach to meet Defendant’s contractual

obligations and legal duties.

       200.    Plaintiffs, therefore, seek a declaration (1) that Defendant’s existing security

measures do not comply with its contractual obligations and duties of care to provide

adequate security, and (2) that to comply with its contractual obligations and duties of care,

Defendant must implement and maintain reasonable security measures, including, but not

limited to:

               a.     Ordering      that    Defendant      engage      third-party    security

                      auditors/penetration testers as well as internal security personnel to

                      conduct testing, including simulated attacks, penetration tests, and

                      audits on Defendant’s systems on a periodic basis, and ordering




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         Defendant to promptly correct any problems or issues detected by

         such third-party security auditors;

    b.   Ordering that Defendant engage third-party security auditors and

         internal personnel to run automated security monitoring;

    c.   Ordering that Defendant audit, test, and train its security personnel

         regarding any new or modified procedures;

    d.   Ordering that Defendant segment data by, among other things,

         creating firewalls and access controls so that if one area of

         Defendant’s systems is compromised, hackers cannot gain access to

         other portions of Defendant’s systems;

    e.   Ordering that Defendant purge, delete, and destroy in a reasonably

         secure manner customer data not necessary for its provisions of

         services;

    f.   Ordering that Defendant conduct regular computer system scanning

         and security checks;

    g.   Ordering that Defendant routinely and continually conduct internal

         training and education to inform internal security personnel how to

         identify and contain a breach when it occurs and what to do in

         response to a breach; and

    h.   Ordering Defendant to meaningfully educate its current, former, and

         prospective customers about the threats they face as a result of the loss

         of their PII to third parties, as well as the steps they must take to



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                        protect themselves.

                              EIGHTH CAUSE OF ACTION
          VIOLATIONS OF OKLAHOMA CONSUMER PROTECTION ACT,
                       OKLA. STAT., TIT. 15, CH. 20 §§751, et seq
                           (On Behalf of Plaintiffs and the Class)
          201. Plaintiffs incorporate the foregoing paragraphs as though fully set forth

herein.

          202.   The Oklahoma Consumer Protection Act (“OCPA”), Okla. Stat. tit. 15,

§§751, et seq., prohibits unfair unfair or deceptive trade practices in the course of a person’s

business. See Okla. Stat. tit. 15, §§752(13)-(14), 753(20).

          203.   T-Mobile is a “person,” as meant by Okla. Stat. tit. 15, §752(1).

          204.   Plaintiffs and members of the Class are “aggrieved consumers” within the

meaning of the OCPA.

          205.   T-Mobile offers, sells, and distributes goods, services, and other things of

value, which constitute “consumer transactions” as meant by Okla. Stat. tit. 15, §752(2).

          206.   T-Mobile, in the course of its business, engaged in unlawful practices in

violation of Okla. Stat. tit. 15, §753, including the following:

                 a.     making false representations, knowingly or with reason to know, as to

                        the characteristics, uses, and benefits of the subjects of its consumer

                        transactions, in violation of Okla. Stat. tit. 15, §753(5);

                 b.     representing, knowingly or with reason to know, that the subjects of

                        its consumer transactions were of a particular standard when they

                        were of another, in violation of Okla. Stat. tit 15, §753(7);




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       c.    advertising, knowingly or with reason to know, the subjects of its

             consumer transactions with intent not to sell as advertised, in violation

             of Okla. Stat. tit 15, §753 (8);

       d.    committing unfair trade practices that offend established public policy

             and was immoral, unethical, oppressive, unscrupulous, and

             substantially injurious to consumers as defined by section 752(14), in

             violation of Okla. Stat. tit. 15, §753(20); and

       e.    committing deceptive trade practices that deceived or could

             reasonably be expected to deceive or mislead a person to the detriment

             of that person as defined by section 752(13), in violation of Okla. Stat.

             tit. 15, §753(20).

207.   T-Mobile’s unlawful practices include:

       a.    Unreasonably adopting and maintaining data security measures that

             were inadequate to protect Plaintiffs’ and Class Members’ PII, which

             was a direct and proximate cause of the Data Breach;

       b.    Ignoring actual and foreseeable security and privacy risks that lead to

             the Data Breach;

       c.    Implementing inadequate security and privacy measures, which was

             a direct and proximate cause of the Data Breach;

       d.    Failing to comply with common law and statutory duties pertaining to

             the security and privacy of Plaintiffs’ and Class Members’ PII,

             including duties imposed by the FTC Act;



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              e.     omitting, suppressing, and concealing the material fact that it did not

                     reasonably or adequately secure Plaintiffs’ and Class Members’ PII;

                     and

              f.     omitting, suppressing, and concealing the material fact that it did not

                     comply with common law and statutory duties pertaining to the

                     security and privacy of Plaintiffs’ and Class Members’ Personal

                     Information, including duties imposed by the FTC Act, 15 U.S.C. §45.

       208.   T-Mobile’s representations and omissions were material because they were

likely to deceive reasonable consumers about the adequacy of T-Mobile’s data security and

ability to protect the confidentiality of consumers’ PII.

       209.   Had T-Mobile disclosed to Plaintiffs and Class Members that its data systems

were not secure and, thus, vulnerable to attack, T-Mobile would have been unable to

continue in business and it would have been forced to adopt reasonable data-security

measures and comply with the law.

       210.   Instead, T-Mobile held itself out as having adequate data security practices

to keep Plaintiffs’ and Class Members’ PII safe from intrusion and exfiltration by

unauthorized third parties.

       211.   These unlawful practices and acts by T-Mobile were immoral, unethical,

oppressive, unscrupulous, and substantially injurious. These acts caused substantial injury

to Plaintiffs and Class Members.

       212.   Further, the injuries suffered by Plaintiffs and the Class are not outweighed

by any countervailing benefits to consumers or competition. And, because T-Mobile is



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solely responsible for securing its networks and protecting PII, there is no way Plaintiffs

or the Class could have known about T-Mobile’s inadequate data security practices or

avoided the injuries they sustained from the Data Breach. There were reasonably available

alternatives to further T-Mobile’s legitimate business interests, other than its conduct

responsible for the Data Breach.

          213.   T-Mobile’s conduct is also unconscionable within the meaning of OCPA

because it undermines public policy that businesses protect personal and financial

information, as reflected in the FTC Act.

          214.   T-Mobile acted intentionally, knowingly, and maliciously to violate OCPA,

and recklessly disregarded Plaintiffs’ and the Class Members’ rights.

          215.   As a direct and proximate result of T-Mobile’s unlawful practices, Plaintiffs

and Class Members have suffered and will continue to suffer injury, ascertainable losses

of money or property, and monetary and non-monetary damages, including time and

expenses related to monitoring their financial accounts for fraudulent activity; an increased,

imminent risk of fraud and identity theft; and loss of value of their PII.

          216.   Plaintiffs and Class Members seek all monetary and non-monetary relief

allowed by law, including actual damages, civil penalties, and attorneys’ fees and costs.

                           NINTH CAUSE OF ACTION
   Violation of the Oklahoma Deceptive Trade Practices Act, 78 O.S. §§51, et seq.
                        (On Behalf of Plaintiff and the Class)

          217.   Plaintiffs incorporate the foregoing paragraphs as though fully set forth

herein.

          218.   The Oklahoma Deceptive Trade Practices Act (“Oklahoma DTPA”), 78 O.S.



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§§51, et seq., prohibits deceptive trade practices in the course of a person’s business,

vocation, or occupation. 78 O.S. §53(A).

      219.   T-Mobile is a “person,” as meant by 78 O.S. §52(8).

      220.   Plaintiffs and members of the Class are “persons” under 78 O.S. §52(8).

Plaintiffs and the Class are consumers whose PII was in T-Mobile’s possession.

      221.   T-Mobile, in the course of its business, engaged in deceptive practices in

violation of 78 O.S. §§53(A), including the following:

                 a. Knowingly making false representations as to the characteristics,

                    uses, and benefits of its goods and services, in violation of 78

                    O.S.§§53(A)(5); and

                 b. Knowingly representing that its goods and services are of a particular

                    standard when they were of another, in violation of 78

                    O.S.§§53(A)(7).

      222.   T-Mobile’s deceptive practices include:

                 a. Unreasonably adopting and maintaining data security measures that

                    were inadequate to protect PII, which was a direct and proximate

                    cause of the Data Breach;

                 b. Ignoring foreseeable security risks, refusing to remediate identified

                    security risks, and failing to adequately improve security measures

                    following previous cybersecurity incidents, which was a direct and

                    proximate cause of the Data Breach;




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                 c. Failing to comply with common law to avoid causing foreseeable risk

                     of harm and statutory duties pertaining to the security of PII, including

                     duties imposed by the FTC Act, which was a direct and proximate

                     cause of the Data Breach;

                 d. Misrepresenting that it would protect PII, including by implementing

                     and maintaining reasonable security measures; and

                 e. Misrepresenting that it would comply with common law and statutory

                     duties pertaining to the security of PII, including duties imposed by

                     the FTC Act.

       223.   T-Mobile’s conduct caused substantial injury to consumers and provided no

benefit to consumers or competition. The injuries suffered by Plaintiffs and the Class are

not outweighed by any countervailing benefits to consumers or competition. And, because

T-Mobile is solely responsible for securing its networks and protecting PII, there is no way

Plaintiffs or Class Members could have known about T-Mobile’s inadequate data security

practices or avoided the injuries they sustained.        There were reasonably available

alternatives to further T-Mobile’s legitimate business interests, other than its conduct

responsible for the Data Breach.

       224.   T-Mobile intended to mislead Plaintiff and Class and induce them to rely on

its misrepresentations.

       225.   Had T-Mobile disclosed to Plaintiffs and Class that its data systems were not

secure and, thus, vulnerable to attack, T-Mobile would have been unable to continue in

business and it would have been forced to adopt reasonable data security measures and



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comply with the law.

       226.     Instead, T-Mobile held itself out as having adequate data security practices

to keep Plaintiffs’ and Class Members’ PII safe from intrusion and exfiltration by

unauthorized third parties.

       227.     Accordingly, T-Mobile’s representations were material because they were

likely to deceive reasonable financial institutions about the adequacy of T-Mobile’s data

security and ability to protect the confidentiality of PII, and Plaintiffs and the Class acted

reasonably in relying on T-Mobile’s misrepresentations, the truth of which they could not

have discovered.

       228.     As a direct and proximate result of T-Mobile’s unlawful practices, Plaintiffs

and the Class have suffered and will continue to suffer injury, ascertainable losses of money

or property, and monetary and non-monetary damages, including from fraud and identity

theft; time and expenses related to monitoring accounts for fraudulent activity; and an

increased, imminent risk of fraud and identity theft.

       229.     Plaintiffs and the Class seek all monetary and non-monetary relief allowed

by law, including actual damages, civil penalties, and attorneys’ fees and costs.

                                  PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, individually, and on behalf of themselves and all others

similarly situated, and on behalf of the general public, respectfully request that the Court

enter an order:

       a.       Certifying the proposed Class as requested herein;

       b.       Appointing Plaintiffs as Class Representatives and the undersigned counsel



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as Class Counsel;

       c.           Finding that Defendant engaged in the unlawful conduct as alleged herein;

       d.           Granting injunctive relief requested by Plaintiffs, including but not limited

to, injunctive and other equitable relief as is necessary to protect the interests of Plaintiffs

and Class Members, including but not limited to an order:

               i.      prohibiting T-Mobile from engaging in the wrongful and unlawful acts

                       described herein;

              ii.      requiring T-Mobile to protect, including through encryption, all data

                       collected through the course of its business in accordance with all

                       applicable regulations, industry standards, and federal, state or local laws;

             iii.      requiring T-Mobile to delete, destroy, and purge the PII of Plaintiffs and

                       Class Members unless T-Mobile can provide to the Court reasonable

                       justification for the retention and use of such information when weighed

                       against the privacy interests of Plaintiffs and Class Members;

             iv.       requiring T-Mobile to implement and maintain a comprehensive

                       information security program designed to protect the confidentiality and

                       integrity of the PII of Plaintiffs and Class Members’ PII;

              v.       prohibiting T-Mobile from maintaining Plaintiffs’ and Class Members’

                       PII on a cloud-based database;

             vi.       requiring T-Mobile to engage independent third-party security

                       auditors/penetration testers as well as internal security personnel to

                       conduct testing, including simulated attacks, penetration tests, and audits



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        on T-Mobile’s systems on a periodic basis, and ordering T-Mobile to

        promptly correct any problems or issues detected by such third-party

        security auditors;

 vii.   requiring T-Mobile to engage independent third-party security auditors

        and internal personnel to run automated security monitoring;

viii.   requiring T-Mobile to audit, test, and train its security personnel

        regarding any new or modified procedures;

 ix.    requiring T-Mobile to segment data by, among other things, creating

        firewalls and access controls so that if one area of T-Mobile’s network is

        compromised, hackers cannot gain access to other portions of T-Mobile’s

        systems;

  x.    requiring T-Mobile to conduct regular database scanning and securing

        checks;

 xi.    requiring T-Mobile to establish an information security training program

        that includes at least annual information security training for all

        employees, with additional training to be provided as appropriate based

        upon the employees’ respective responsibilities with handling PII, as well

        as protecting the PII of Plaintiffs and Class Members;

 xii.   requiring T-Mobile to conduct internal training and education routinely

        and continually and, on an annual basis, inform internal security

        personnel how to identify and contain a breach when it occurs and what

        to do in response to a breach;



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xiii.   requiring T-Mobile to implement a system of tests to assess its respective

        employees’ knowledge of the education programs discussed in the

        preceding subparagraphs, as well as randomly and periodically testing

        employees’ compliance with T-Mobile’s policies, programs, and systems

        for protecting PII;

xiv.    requiring T-Mobile to implement, maintain, regularly review, and revise

        as necessary a threat management program designed to appropriately

        monitor T-Mobile’s information networks for threats, both internal and

        external, and assess whether monitoring tools are appropriately

        configured, tested, and updated;

xv.     requiring T-Mobile to meaningfully educate all Class Members about the

        threats that they face as a result of the loss of their confidential PII to third

        parties, as well as the steps affected individuals must take to protect

        themselves;

xvi.    requiring T-Mobile to implement logging and monitoring programs

        sufficient to track traffic to and from T-Mobile’s servers;




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           xvii.    for a period of 10 years, appointing a qualified and independent third-

                    party assessor to conduct a SOC 2 Type 2 attestation on an annual basis

                    to evaluate T-Mobile’s compliance with the terms of the Court’s final

                    judgment, to provide such report to the Court and to counsel for the class,

                    and to report any deficiencies with compliance of the Court’s final

                    judgment;

           xviii.   requiring Defendant to design, maintain, and test its computer systems to

                    ensure that PII in its possession is adequately secured and protected;

            xix.    requiring   Defendant     to    implement    multi-factor    authentication

                    requirements, if not already implemented;

             xx.    requiring Defendant’s employees to change their passwords on a timely

                    and regular basis, consistent with best practices; and

            xxi.    requiring Defendant to provide lifetime credit monitoring and identity

                    theft repair services to Class Members.

      e.        Awarding Plaintiffs and Class Members damages;

      f.        Awarding Plaintiffs and Class Members pre-judgment and post-judgment

interest on all amounts awarded;

      g.        Awarding Plaintiffs and the Class Members reasonable attorneys’ fees, costs,

and expenses; and

      h.        Granting such other relief as the Court deems just and proper.

                                DEMAND FOR JURY TRIAL

      Plaintiffs, on behalf of themselves and the proposed Class, as well as on behalf of



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the general public, hereby demand a trial by jury as to all matters so triable.

Date: August 23, 2021                      Respectfully Submitted,

                                           s/ William B. Federman_____________
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